
Ingraham, J., (dissenting.)
I am unable to agree with my associates in the conclusion to which they have arrived that this judgment should be affirmed. It was at least doubtful whether the “ further errors ” mentioned in the agreement of June 16,1888, related to the amounts that could be realized from the accounts or errors, in the method by which the amounts due had been determined. If plaintiff had transferred to defendant certain accounts which represented debts to him, secured by the personal property which was deposited with him on storage, and had represented that such accounts were good and collectible, and that the property upon which he had a lien for the several amounts due him was sufficient security for which the defendant had agreed to pay him $10,000, to be applied in payment of a subscription for that amount of the capital stock of the company, and that it subsequently appeared that' such representation was false as to the collectibility of a portion of the accounts, and the parties had deducted the amounts that up to that time had been ascertained to be uncollectible, and then fixed the amount of stock to which the plaintiff was entitled from the accounts before transferred, but providing “ that all further errors found *451in the accepted accounts from him shall be a charge against his stock.” It would be, I think, clear that the “ further errors” would be errors of like character to the ones that had been corrected by the agreement of June 16, 1888.
The defendant offered to prove the original agreement whereby plaintiff subscribed to the stock of the defendant, offered to show the terms of the subscription and the representations made by plaintiff as to the value of the business ; of the value of the plant turned over; as to the value of the accounts receivable, and that there was a shrinkage in the accounts.
All of this evidence was excluded, and the defendant excepted. Defendant also offered to show the condition of things that led up to the agreement of June 16, 1888, upon which the cause of action was based, which was excluded by the court, and to which the plaintiff excepted. I think all of this testimony was material and necessary to enable the court to determine the meaning of the words “further errors in the accepted accounts.”
Several other questions are presented which are not free from doubt, but I think it clear that the exclusion of the evidence before referred to, requires that there should be a new trial.
